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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS

  UNITED STATES OF AMERICA,                           §
                                                      §
                                                      §
  V.                                                  § Case Number 6:17-CR-00034-RC
                                                      §
                                                      §
  BOBBY DARRELL SMITH (10),                           §
                                                      §

            FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                 BEFORE THE UNITED STATES MAGISTRATE JUDGE



       By order of the District Court, this matter was referred to the undersigned United States

Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

On November 7, 2017 this cause came before the undersigned United States Magistrate Judge for

entry of a guilty plea by the defendant, BOBBY DARRELL SMITH (10), on Count 37 of the

charging Indictment filed in this cause.




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      Count 37 of the Indictment charges that, on or about June 7, 2016, in the Eastern District of

Texas, BOBBY DARRELL SMITH (10), defendant herein, having been convicted of an offense

punishable by a term of imprisonment exceeding one year, specifically:

      Possession of a Controlled Substance, Penalty Group 1, a felony, in the 188th District Court
      of Gregg County, Texas, Cause No. 31260-A, on June 9, 2004;

did knowingly and intentionally possess in and affecting interstate and foreign commerce, firearm,

to wit:

      1.   Colt, model: Army Special .41 revolver
      2.   Winchester, model: 6c .22 rifle
      3.   Akkar, model: SC2010, .410 shotgun
      4.   Remington, model: 870, 12-gauge shotgun
      5.   Marlin, model: 883, .22 rifle
      6.   Remington, model: 870, 12-gauge shotgun
      7.   Stevens, model: 62, .22 rifle
      8.   Ruger, model: 10/22, .22 rifle

said firearms having been shipped and transported in interstate and foreign commerce, all in

violation of 18 U.S.C. § 922(g)(1) and 924 (a)(2).

      Defendant, BOBBY DARRELL SMITH (10), entered a plea of guilty to Count 37 of the

Indictment into the record at the hearing.

      After conducting the proceeding in the form and manner prescribed by Federal Rule of

Criminal Procedure 11 the Court finds:

      a. That Defendant, after consultation with counsel of record, has knowingly, freely and

voluntarily consented to the administration of the guilty plea in this cause by a United States

Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

sentence by the District Court.

      b. That Defendant and the Government have entered into a plea agreement and a plea

agreement addendum which were addressed in open court and entered into the record.




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     c. That Defendant is fully competent and capable of entering an informed plea, that

Defendant is aware of the nature of the charges and the consequences of the plea, and that the plea

of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant personally

in open court, the Court determines that Defendant’s plea is voluntary and did not result from

force, threats or promises. See FED. R. CRIM. P. 11(b)(2).

     d.   That Defendant’s knowing, voluntary and freely made plea is supported by an

independent factual basis establishing each of the essential elements of the offense and Defendant

realizes that this conduct falls within the definition of the crimes charged under 18 U.S.C. §

922(g)(1) and 924(a)(2).



                                    STATEMENT OF REASONS

     As factual support for Defendant’s guilty plea, the Government presented a factual basis.

See Factual Basis and Stipulation. In support, the Government and Defendant stipulated that if

this case were to proceed to trial the Government would prove beyond a reasonable doubt, through

the sworn testimony of witnesses, including expert witnesses, as well as through admissible

exhibits, each and every essential element of the crime charged in Count 37 of the Indictment.

The Government would also prove that the defendant is one and the same person charged in the

Indictment and that the events described in Indictment occurred in the Eastern District of Texas and

elsewhere. The Court incorporates the proffer of evidence described in detail in the factual basis

and stipulation in support of the guilty plea.

     Defendant, BOBBY DARRELL SMITH (10), agreed with and stipulated to the evidence

presented in the factual basis. Counsel for Defendant and the Government attested to Defendant’s

competency and capability to enter an informed plea of guilty. The Defendant agreed with the




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evidence presented by the Government and personally testified that he was entering his guilty plea

knowingly, freely and voluntarily.

                                RECOMMENDED DISPOSITION

     IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of Defendant which the undersigned determines

to be supported by an independent factual basis establishing each of the essential elements of the

offense charged in Count 37 of the charging Indictment on file in this criminal proceeding. The

Court also recommends that the District Court accept the plea agreement and plea agreement

addendum pursuant to the Local Rules for the United States District Court for the Eastern District

of Texas and Federal Rule of Criminal Procedure 11(c). Accordingly, it is further recommended

that, Defendant, BOBBY DARRELL SMITH (10), be finally adjudged as guilty of the charged

offense under Title 18, United States Code, Section 922(g)(1) and 924(a)(2).

     Defendant is ordered to report to the United States Probation Department for the preparation

of a presentence report. At the plea hearing, the Court admonished the Defendant that the District

Court may reject the plea and that the District Court can decline to sentence Defendant in

accordance with the plea agreement and addendum, the federal sentencing guidelines and/or the

presentence report because the sentencing guidelines are advisory in nature. The District Court

may defer its decision to accept or reject the plea agreement and addendum until there has been an

opportunity to consider the presentence report. See FED. R. CRIM. P. 11(c)(3). If the Court rejects

the plea agreement, the Court will advise Defendant in open court that it is not bound by the plea

agreement and Defendant may have the opportunity to withdraw the guilty plea, dependent upon

the type of the plea agreement. See FED. R. CRIM. P. 11(c)(3)(B). If the plea agreement is rejected

and Defendant still persists in the guilty plea, the disposition of the case may be less favorable to




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Defendant than that contemplated by the plea agreement or addendum. Defendant has the right to

allocute before the District Court before imposition of sentence.

                                           OBJECTIONS

     Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen (14)

days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1). A party’s failure to

object bars that party from: (1) entitlement to de novo review by a district judge of proposed

findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir. 1988), and

(2) appellate review, except on grounds of plain error of unobjected-to factual findings and legal

conclusions accepted by the district court, see Douglass v. United Servs. Auto. Ass’n., 79 F.3d

1415, 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded by Congress and the

courts require that, when a party takes advantage of his right to object to a magistrate’s findings

or recommendation, a district judge must exercise its nondelegable authority by considering the

actual evidence and not merely by reviewing and blindly adopting the magistrate’s report and

recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v.

Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).




       So ORDERED and SIGNED this 8th day of November, 2017.




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